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            EXHIBIT A
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                                                                                                     US008041806B2


(12) United States Patent                                                            (10) Patent No.:                  US 8,041,806 B2
       Gassewitz et al.                                                              (45) Date of Patent:                         Oct. 18, 2011

(54) TARGETED ELECTRONIC CONTENT                                                 2002/00998.54 A1* 7/2002 Jorgensen ..................... TO9,249
                                                                                 2002/010.5911 A1* 8, 2002 Pruthi et al.               ... 370,241
        DELIVERY CONTROL SYSTEMIS AND                                            2003/02O7685 A1* 11/2003 Rankin ..........            ... 455,433
        METHODS                                                                  2005/00 18697 A1  1/2005 Enns et al. .................... 370/401
                                                                                 2006, OO21353 A1  2/2006 Lawlor et al.
(75) Inventors: Michael Peter Gassewitz, Ottawa (CA);                            2006/O123001 A1* 6/2006 Burns ............................... 707/6
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                        ward Morin, Ottawa (CA)
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(73) Assignee: Alcatel Lucent, Paris (FR)                                                   FOREIGN PATENT DOCUMENTS
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(*) Notice:            Subject to any disclaimer, the term of this              WO          WOO1,20481 A2            3, 2001
                       patent is extended or adjusted under 35                  WO          WO O2, 172O2 A2          2?2002
                       U.S.C. 154(b) by 1221 days                               WO      WO 2006/034844 A1            4/2006
                                                                                * cited by examiner
(21) Appl. No.: 11/530,519                                                      Primary Examiner — Wing Chan
(22) Filed:            Sep.e 11,
                             ----9
                                   2006                                         Assistant Examiner — Andrew Woo
                                                                                (74) Attorney, Agent, or Firm — Eckert Seamans Cherin &
(65)                 Prior Publication Data                                     Mellot, LLC.
        US 2008/OO65,759 A1     Mar. 13, 2008                                   (57)                     ABSTRACT
                                                                                Targeted electronic content delivery control systems and
(51) Int. Cl.                                                                   methods are disclosed. All communication traffic exchanged
        G06F 15/16                    (2006.01)                                 with a communication network Subscriber over an access
(52) U.S. Cl. ....................................................... 709/224   communication link that enables the Subscriber to access
(58) Field of Classification Search .................. 709/224,                 electronic content is monitored, and behavioral information
                                                        709/223                 indicative of behavior of the subscriber in using the access
        See application file for complete search history.                       communication link is collected from the monitored commu
                                                                                nication traffic. A behavioral profile of the subscriber is main
(56)                       References Cited                                     tained based on the behavioral information. Delivery of tar
                                                                                geted electronic content to the subscriber for presentation
                  U.S. PATENT DOCUMENTS                                         with electronic content accessed by the subscriber is con
       5.974.451 A         10, 1999 Simmons..................... TO9.218        trolled based on the behavioral profile.
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                                                       Monitor Traffic
                                                                  72

                                                     COllect Behavioral
                                                        Information
                                                                 74

                                                   Maintain Behavioral
                                                         Profile
                                                                  76

                                               Control Targeted Content
                                                        Delivery
                                                           78
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                                                            -10
        SubScriber
              12
                                           ACCeSS
                                   COmmunication NetWOrk
                                              16
        SubScriber
              14


                                                     COre
                                         Communical18 NetWOrk




                                   F.G. 1
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                        Targeted                              Billing Management                      Electronic Content
  2O                 Content Source                                  System                                SOUrce
       N                   60           Targeted Content                62                                     58
                                        Campaign Manager
                                               54               Electronic Content                     Contextual
                                                                Delivery Controller                     Analyzer
                                                                        56                                 50

                                         Behavioral Information                  S             C
                                         Collector Management
                                                                                  Characterization     S-2
  SubScriber   SME Management                                                         Definitions        Behavioral
 Information       System                                                                 48               Profile
                      42                                                                  o               Database

                                         Behavioral Information              Behavioral                        46
                                                Collector                    Analyzer
                                                                                                     Behavior Rule
                                   s                                                       s
                                                                                                      Definitions
               Behavioral Information   Subscriber Management        Behavioral Information               38
                     Collector               Element (SME)                   Collector
                                                  30
                                            ACCeSS NetWork
                                                    24
                                              FIG. 2
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                                MOnitor Traffic
                                       72

                             COllect Behavioral
                                Information
                                       74

                             Maintain Behavioral
                                   Profile
                                       76

                         Control Targeted COntent
                                  Delivery
                                        78                       FIG. 3


                                                                     -80
                                      SubSCriber
       SubSCriber ID               Behavioral Profile    Other Information
              82                          84                    86


                                   FIG. 4


                     Targeted
                   Content Or ID               Behavior Or ID(s)
                        92

                                     FIG.S
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                                                     US 8,041,806 B2
                               1.                                                               2
         TARGETED ELECTRONIC CONTENT                                   U.S. patent application Ser. No. 09/863,593, entitled
         DELIVERY CONTROL SYSTEMS AND                                APPARATUS AND METHOD FOR COLLECTING AND
                   METHODS                                         ANALYZING COMMUNICATIONS DATA” and published
                                                                   on Aug. 8, 2002 as Publication No. 2002/0105911, proposes
                FIELD OF THE INVENTION                             a system in which packets are extracted from data received
                                                                   from a first communication line and statistics corresponding
   This invention relates generally to communications and, in to the packets are then recursively generated. Although this
particular, to control of electronic content delivery to sub patent application concentrates primarily on communication
scribers in communication networks based on Subscriber
                                                                10
                                                                   network management based on these statistics, reference is
behaviors.                                                         made to profiling data about users or their traffic on Such
                                                                   networks. A network monitor might filter each received
                       BACKGROUND                                  packet based on its contents, such as by looking for specific
                                                                   text within packets or for web sites visited by a user. The level
   Those familiar with existing advertising distribution tech of user behavioral analysis in this patent application appears
niques will appreciate the advertising spend wastage prob 15 to be limited, since packet content filtering techniques are not
lem. Much advertising, whether online or through traditional disclosed in detail. Content delivery also appears to be inde
media, is delivered to consumers without regard to their buy pendent of current in-process user access activities, as is
ing intent and/or personal interests. There are three main evident from the disclosed example of targeted email as a
types of existing online advertisement Solutions that attempt content delivery mechanism.
to address this problem. These include advertisement delivery         U.S. patent application Ser. No. 09/833,444, entitled
with search, advertisement delivery with content, and adver         USER PROFILING COMMUNICATIONS SYSTEM and
tisement delivery using a behavioral network.                      published on Nov. 6, 2003 as Publication No. 2003/0207685,
   In an advertisement delivery with search scheme, adver also discloses user profiling for a system in which a user has
tisements are delivered by a search engine provider along 25 multiple terminals. The terminals cooperate to transfer auto
with search results. Typically, the advertisements selected for matically gathered user profile information, which includes
display are contextually related to a search phrase. U.S. patent service access information for accessing services. The user
application Ser. No. 1 1/272,026, entitled “SYSTEMS AND profiles are used for a different purpose in this published
METHODS FOR SELECTING DIGITAL ADVERTISE
                                                                   patent application, for service access rather than advertise
MENTS’ and published on Jun. 8, 2006 as Publication No. 30 ment or other content delivery.
2006/0123001, discloses another example of a search-based             Thus, there remains a need for improved targeted elec
system, in which digital advertisements to be sent to a user's
computer are chosen based on information relating to tronic content delivery control techniques.
searches conducted by the user. In this example, advertise                      SUMMARY OF THE INVENTION
ments are related to searches, but might not necessarily be 35
returned to the user with search results. However, search             Embodiments of the present invention may significantly
context-based advertisement delivery mechanisms do not improve              an advertiser's return on investment of its advertis
capture the ongoing buying intent and/or other personal inter ing expenditures      by delivering highly relevant targeted online
ests of a user.
   Advertisement delivery with content involves delivering 40 advertisements and/or other electronic content to end con
advertisements with the content of a portal, in a webpage for Sumers using continuous and thorough analysis of the con
instance. The advertisements selected for display are nor Sumers online behaviors.
mally contextually related to the content of the portal. As           In accordance with an aspect of the invention, there is
noted above for search context, content context analysis does provided a system that includes a behavioral information
not capture the ongoing buying intent and/or other personal 45 collector operable to monitor all communication traffic
interests of the user.                                             exchanged with a communication network Subscriber over an
   For some currently available advertisement delivery access communication link, the access communication link
mechanisms using a behavioral network, the “network” is a enabling the Subscriber to access electronic content, and to
limited community of cooperating portals. These portals par collect from the monitored communication traffic behavioral
ticipate as members of an “ad network”. As a user visits the 50 information indicative of behavior of the subscriber in using
portals, cookies and/or web beacons can be used to track and the access communication link, a behavioral analyzer opera
log the user and the users behavior within the ad network. tively coupled to the collector and operable to maintain a
Advertisements are selected for delivery with the content of a behavioral profile of the subscriber based on the behavioral
portal according to the identity of the user and the user's information, and an electronic content delivery controller
tracked behavior.                                               55 operatively coupled to the behavioral analyzer and operable
   An ad network implementation requires a community of to control, based on the behavioral profile, delivery of tar
cooperating portals to be established. One problem with this geted electronic content to the subscriber for presentation
type of behavioral ad network lies in the limited extent of such with electronic content accessed by the subscriber.
a network, which can lead to difficulties in tracking users.         The behavioral information collector may be operable to
Whenauser traverses portals that are outside the domain of an 60 collect the behavioral information from only one or more
ad network, the ad network loses the ability to track the particular types of the monitored communication traffic.
behavior of the user, thus limiting its effectiveness. Advertis       In some embodiments, the behavioral analyzer is operable
ers thus cannot be certain of the accuracy of behavioral to maintain the subscriber behavioral profile based on behav
assessments, since users may have visited many sites that are ioral information collected from only one or more particular
not within the portal community of an ad network. In addi 65 types of the monitored communication traffic.
tion, further tracking problems can arise when users disable         Where the monitored communication traffic includes
cookies.                                                           packet traffic, the system may also include a Deep Packet
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                              3                                                               4
Inspection (DPI) module operatively coupled to the behav               A method may be embodied, for example, in instructions
ioral information collector and operable to monitor the access       stored on a machine-readable medium.
communication traffic.                                                  A machine-readable medium storing a data structure is also
  The behavioral information collector is in an offline posi         provided. The data structure includes information identifying
tion relative to the access communication link in some               a communication network Subscriber, and a behavioral profile
embodiments.                                                         maintained for the identified subscriber based on behavioral
   The system may also include a memory operatively information, which is collected from all communication traf
coupled to the behavioral analyzer for storing behavioral fic exchanged with the Subscriber over an access communi
analysis definitions, in which case the behavioral analyzer cation link that enables the subscriber to access electronic
maintains the subscriber behavior profile in accordance with 10 content and is indicative of behavior of the subscriber in using
the stored behavioral analysis definitions.                       the access communication link. The behavioral profile allows
   An electronic content source may be operatively coupled to selection of targeted electronic content to be delivered to the
the electronic content delivery controller and operable to subscriber for presentation with electronic content accessed
deliver the accessed electronic content to the subscriber. The    by the subscriber.
electronic content delivery controller may then be operable to 15 According to another aspect of the invention, a machine
control delivery of targeted electronic content to the sub readable medium stores a data structure that includes infor
scriber by providing the targeted electronic content to the mation specifying targeted electronic content, and informa
electronic content source for delivery to the subscriber with tion specifying a behavior associated with the specified
the accessed electronic content.                                  targeted electronic content. The information that specifies a
   Where the access communication link is a network link in       behavior allows selection of the specified targeted electronic
an access network, the access network may include an elec content to be delivered to a communication network Sub
tronic content source that is operable to deliver the accessed scriber, by whom the specified behavior is exhibited in using
electronic content to the subscriber.                             an access communication link that enables the Subscriber to
   The electronic content Source may provide an Internet access electronic content, for presentation with electronic
Protocol Television (IPTV) service, for example.               25
                                                                  content accessed by the subscriber.
   In Some embodiments, the electronic content delivery con          Other aspects and features of embodiments of the present
troller is further operable to select the targeted electronic invention will become apparent to those ordinarily skilled in
content from targeted electronic content provided by multiple the art upon review of the following description.
targeted electronic content providers.
   The targeted electronic content may include an advertise 30           BRIEF DESCRIPTION OF THE DRAWINGS
ment.
   At least one of the behavioral information collector, the    Examples of embodiments of the invention will now be
behavioral analyzer, and the electronic content delivery con described in greater detail with reference to the accompany
troller may be implemented in software for execution by one ing drawings.
or more processing elements.                                 35 FIG. 1 is a block diagram of a communication system.
   Sucha system may be implemented, for example, in a set of    FIG. 2 is a block diagram of a communication system
one or more network elements for providing to a Subscriber incorporating behavior-based electronic content delivery
system access to electronic content through an access com control.
munication network.                                             FIG. 3 is a flow diagram of an electronic content delivery
   A method is also provided, and includes monitoring all 40 control method.
communication traffic exchanged with a communication net        FIGS. 4 and 5 are block diagrams of data structures.
work Subscriber over an access communication link, the
access communication link enabling the Subscriber to access                DETAILED DESCRIPTION OF PREFERRED
electronic content, collecting from the monitored communi                            EMDOBIMENTS
cation traffic behavioral information indicative of behavior of 45
the Subscriberin using the access communication link, main          FIG. 1 is a block diagram of a communication system in
taining a behavioral profile of the subscriber based on the which embodiments of the invention may be implemented.
behavioral information, and controlling, based on the behav The communication system 10 in FIG. 1 includes subscriber
ioral profile, delivery of targeted electronic content to the systems 12, 14, an access communication network 16, and a
subscriber for presentation with electronic content accessed 50 core communication network 18. Although many Subscriber
by the subscriber.                                               systems 12, 14 and access networks 16 may be connected to
   Collecting may involve collecting the behavioral informa a core communication network 18, only two Subscriber sys
tion from only one or more particular types of the monitored tems and one access network have been shown in FIG. 1 to
communication traffic.                                           avoid overly complicating the drawing. Internal details of the
   The operation of maintaining may involve maintaining the 55 subscriber systems 12, 14 and the networks 16, 18 have not
subscriber behavioral profile based on behavioral informa been explicitly shown in FIG. 1 for similar reasons. It should
tion collected from only one or more particular types of the therefore be appreciated that the system of FIG. 1, as well as
monitored communication traffic.                                 the contents of the other drawings, are intended solely for
   Where the access communication link is a network link in      illustrative purposes, and that the present invention is in no
an access network, the access network may include an elec 60 way limited to the particular example embodiments shown in
tronic content source that is operable to deliver the accessed the drawings and described herein.
electronic content to the subscriber.                               Those skilled in the art to which the present invention
   The method may also include selecting the targeted elec pertains will be familiar with many different types of sub
tronic content from targeted electronic content provided by scriber systems 12, 14, access communication networks 16,
multiple targeted electronic content providers.               65 and core communication networks 18. The present invention
   The targeted electronic content may include an advertise is not limited to any particular type of subscriber or network
ment.                                                            equipment.
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                             5                                                                  6
   In one embodiment, each Subscriber system 12, 14 is, or at      definitions database 48, to the electronic content delivery
least includes, a communication device through which a Sub         controller 56, and to the electronic content source 58.
scriber can exchange communication traffic with the access          The electronic content delivery controller 56 is further
communication network 16, and thus access electronic con         operatively coupled to the electronic content source 58, to a
tent, services, and/or other functions Supported in the access billing management system 62 that is operatively coupled to
communication network or in the core communication net           one or more targeted electronic content source(s) 60 and to
work 18. A personal computer with a modem is one example the electronic content source, to a targeted content campaign
of a subscriber system, although other types of subscriber manager 54 that is also operatively coupled to the targeted
systems, including fixed, portable, or mobile devices are also electronic content Source(s), and to a targeted electronic con
contemplated.                                                 10 tent database 52 that is maintained by the targeted electronic
   The topology shown in FIG. 1 is typical of an Internet content source(s).
service system, wherein an Internet Service Provider (ISP)          It should be appreciated that the system 20 represents one
implements Switches, routers, and/or other network equip illustrative example of an embodiment of the invention. Other
ment as the access communication network 16 to provide its embodiments may include fewer, further, or different com
Subscribers with access to the Internet as the core communi 15 ponents, with similar or different interconnections, than
cation network 18.                                                 shown.
   Electronic content, searching, shopping, and/or other func        The components of the system 20 and the interconnections
tions may be supported by servers or other systems within the      between those components may be implemented in any of
access communication network 16, where an ISP provides an          various ways. For example, each component may be imple
Internet Protocol TV (IPTV) service as a source of electronic      mented in hardware, software, firmware, or combinations
content for instance, by servers or other systems within or        thereof. Connections between components may include local
connected to the core communication network 18, or in both         connections such as physical cables or conductors and/or
the access and core communication networks.                        logical couplings through commonly accessed variables or
   As noted above, many examples of Subscriber, access net memory areas where components are implemented in the
work, and core network technologies and their operation will 25 same equipment, Such as on one computer or network device.
be familiar to those skilled in the art. Since the present inven Longer range connections such as wired or wireless network
tion is not limited to any particular types of equipment, pro connections may be used to couple remote components
tocols, or operation, Subscriber and network equipment are together for operation.
described only to the extent necessary to illustrate embodi           In one embodiment, the SME 3.0 is implemented in a
ments of the invention. In one embodiment, the techniques 30 Remote Access Server (RAS), a Broadband RAS (BRAS), or
disclosed herein are implemented in an access network Such a set of routers and/or Switches with Subscriber management
as 16. This type of implementation is described in further functions that acts as a distributed BRAS. A behavioral infor
detail below with reference to FIG. 2, which is a block dia        mation collector might be a standalone network element that
gram of a communication system that incorporates behavior is placed in an inline position 28, 32 with the SME 3.0 in an
based electronic content delivery control.                      35 access communication link 26 or in an adjunct position34, as
   The system 20 of FIG. 2 includes a subscriber system 22,        shown, or integrated as part of the SME 3.0. The collection
which is operatively coupled to an access network 24 through function of the behavioral information collector, described in
an access communication link 26. The access network 24 is          further detail below, could be implemented as an extended
operatively coupled to an electronic content source 58, which Deep Packet Inspection (DPI) platform. A DPI module used
is one example of a system that provides a function or service, 40 in behavioral information collection could be provided spe
in this case electronic content, to the subscriber 22. A sub       cifically for this purpose, or might be an existing module that
scriber management element (SME)30 is provided within the is also used for Such functions as traffic management. In one
access network 24, and is operatively coupled to the access embodiment, a behavioral information collector includes
communication link 26. A behavioral information collector          some form of DPI technology. A DPI module may allow
may be deployed "inline' in the access communication link 45 information contained in any one or more of Layers 3 to 7 of
26 at the access side or network side of the SME30, as shown       the OpenSystems Interconnection (OSI) Reference Model to
at 28 and 32, respectively.                                        be examined and analyzed, for example.
   A behavioral information collector 34 may also or instead          The SME management system 42 and the behavior infor
be provided in an "offline' position, operatively coupled to mation collector management system 44 could be imple
the access communication link 26 but not itself part of that 50 mented as management software for execution by one or
link. In the example shown, the offline behavioral information more processing elements, illustratively on the same or dif
collector 34 is operatively coupled to the SME 3.0, although ferent servers. The overall infrastructure that handles and
other connection schemes are also possible. A behavioral manages electronic content delivery in the system 20, includ
information collector management system 44 is operatively ing the components 36, 50,54, 56,58, 60, 62, could similarly
coupled to the or each behavioral information collector 28, 55 be implemented as Software for execution on one or more
32, 34, and to the online characterization definitions database    SWCS.
48. Operative couplings between the behavioral information          Depending on the scale of a deployment, the functions
collector management system 44 and the behavioral informa supported by the components of FIG. 2, as described in detail
tion collector(s) 28, 32 have not been shown in order to avoid below, could be distributed across multiple processing ele
overly complicating the drawing.                              60 ments, such as a set of servers. Different divisions of function
   An SME management system 42 is operatively coupled to than the example shown in FIG.2 are also contemplated. Such
the SME30 and to a subscriber information database 40.           that any single component could itself be distributed across
   A behavioral analyzer 36 is operatively coupled to the or multiple servers. Any server or other processing element
each behavioral information collector 28, 32, 34, to the SME     could also or instead perform the functions of several com
management system 42, to an electronic content delivery 65 ponents. One server might Support both the targeted content
controller 56, and to databases 38, 46, 48. A contextual ana     campaign manager 54 and the billing management system 62,
lyzer 50 is operatively coupled to the online characterization for instance. Thus, as noted above, embodiments of the inven
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tion could be implemented with further, fewer, or different electronic content Source or other system by which a Sub
components than explicitly shown.                               scriber-accessible function is Supported is internal to or exter
   Given the broad range of possible implementations of nal from the access network 24.
many of the components of the system 20, these components          Within the access network 24, the SME 3.0 provides sub
are described herein primarily in terms of their functions. 5 scriber management functions. These functions might
Based on the functional descriptions, a person skilled in the include authentication/authorization/accounting (AAA),
art would be enabled to implement the invention in any of policy enforcement, addressing control, etc. The SME 3.0 is
various ways.                                                   typically managed by an SME management system 42,
   The databases 38, 40, 46, 48, 52, however, would likely be through which subscriber information can be stored in and
implemented using one or more physical memory devices. 10 retrieved from the subscriber information database 40. In
Solid State memory devices are common in communication practice, the SME 3.0 could be implemented in a RAS, a
and processing equipment, although other types of memory BRAS, or a distributed BRAS, such as those found in
devices, for use with fixed, movable, or even removable stor    advanced “triple play' access network architectures.
age media, may also or instead be used. Each database may be       The main function of a behavioral information collector,
stored in a respective different memory device, although mul 15 whether deployed at an inline position 28, 32 or an offline
tiple databases could be stored in a single memory device. position 34, is to monitor all communication traffic flows of
The databases 38, 46, 48, for example, are all used by the the subscriber 22. Offline or adjunct placement of a behav
behavioral analyzer 36, and thus could be stored in one ioral information collector provides improved network sur
memory device that is accessible to the behavioral analyzer.    vivability in case of a collector failure.
   In the system 20, several entities participate within the       Behavioral information indicative of subscriber behavior
example operational framework. These entities include one or in using the access communication link is collected from at
more subscribers, one of which is represented at 22, one or least Some of the monitored communication traffic. By opera
more sources of targeted electronic content, one of which is tively coupling a behavioral information collector to an
represented at 60, and an electronic content source 58. The access communication link, all Subscribertraffic can be moni
access network 24 enables interactions between these enti 25 tored. Although all subscribertraffic could potentially be used
ties.                                                               to collect behavioral information, this behavioral information
   The subscriber 22 is in some embodiments an Internet              need not necessarily be collected from all of the traffic.
service Subscriber, or more generally a Subscriberto a service          Through the behavioral information collector management
offered by the access network 24. Any of various physical system 44, a behavioral information collector could be con
access mechanisms could be used by the subscriber 22 and 30 figured to collect behavioral information from only certain
Supported by the access network 24 to establish the access types of traffic and/or to inspect monitored traffic for specific
connection 26, including Digital Subscriber Line (DSL), data or particular fields. For example, a behavioral informa
Cable Modem, Dialup, or any other physical access means. A tion collector could inspect all subscriber traffic to identify
subscriber 22 is typically a household. One advantage of visited Uniform Resource Locators (URLs), search phrases
Some embodiments of the invention is that no changes at 35 and search result click-through, upstream keywords, down
Subscriber systems are necessary. Subscriber systems do not stream electronic content, online web usage patterns, online
require any modifications to Support behavior tracking, addi applications, etc. Other aspects of behavioral information
tional content processing capabilities, or other functions.          collector operation may similarly be configured or otherwise
   The electronic content source 58, another participant in the managed through the behavioral information collector man
system 20, represents any electronic content publisher Such as 40 agement system 44.
a traditional portal (webpage), a video content provider, etc.          According to one embodiment, the types of behavioral
An electronic content source could also or instead be imple information that are to be included in behavioral analysis are
mented within the access network 24. An ISP might host its specified in the online characterization definitions database
own IPTV service, for example. Thus, embodiments of the 48, and the behavioral information collector management
invention may control delivery of targeted content for presen 45 system 44 accesses these definitions and configures the
tation to a subscriber, illustratively via a display screen or behavioral information collector(s) accordingly. A behavioral
other output device, with other electronic content from elec information collector could also or instead be operatively
tronic content sources that are internal to or external from an      coupled to the online characterization definitions database 48
access network.                                                      to directly access the definitions.
    Electronic content sources such as 58 might allocate adver 50 Collected behavioral information may be aggregated
tisement inventory Such as spaces or timeslots in their elec together as behavioral metadata and forwarded to the behav
tronic content for inserting targeted electronic content, illus ioral analyzer 36 for further analysis. Collected behavioral
tratively advertisements. Advertisements are one example of information may be forwarded to the behavioral analyzer 36
targeted electronic content for which delivery is controlled in automatically as it is collected, at certain intervals as aggre
accordance with an aspect of the invention.                       55 gated behavioral metadata for instance, when explicitly
   A source of targeted electronic content is represented in requested by the behavioral analyzer, or in accordance with
FIG. 2 at 60. An advertiser, which would be one example of a Some other collection/reporting scheme.
provider of targeted electronic content, reaches and promotes           The behavioral analyzer 36 receives the collected behav
its products to consumers, the subscriber 22 in the system 20, ioral information from the behavioral information collector
through online advertising.                                       60 28, 32,34, and formulates a view of the subscriber's behavior.
    Interactions between the subscriber 22 and the electronic        A behavioral profile may be maintained in the behavioral
content source 58 are enabled by the access communication profile database 46 by the behavioral analyzer 36. An example
link 26 through the access network 24. The access network 24 of a data structure that may be used to store behavioral pro
might provide the subscriber 22 with access to the Internet, files is described below with reference to FIG. 4.
for example. In a typical ISP scenario, all of the online traffic 65 Ifa profile for a subscriberalready exists in the database 46,
that is exchanged with the subscriber 22 traverses the access then the existing profile may be updated to reflect ongoing
communication link 26. This would be the case whether an             subscriber behavior, which may change over time. A sub
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scriber might visit product information and shopping sites to      and reflect the current buying intent, personal interests, and/
obtain information regarding features and/or prices of a par       or at which particular point in a buying cycle a Subscriber is
ticular product or type of product that is being considered for    currently likely to be.
purchase. Once a purchase is actually made, however, the              Indications of subscriber profiles may be provided by the
Subscriber might no longer be interested in product informa        behavioral analyzer 36 to the electronic content delivery con
tion and thus not subsequently access electronic content that      troller 56. In one embodiment, based on a subscriber's behav
relates to the productor product type. This change in behavior   ioral profile, Subscriber behavioral tracking tags are for
could be detected from online traffic on the access commu        warded to the electronic content delivery controller 56, by
nication link 26 and reported to the behavioral analyzer 36, which targeted electronic content is matched to the subscrib
which may then update the subscriber's profile accordingly. 10 er's behavior. It should be appreciated, however, that the
   Maintaining a subscriber behavioral profile may also electronic content delivery controller might instead poll the
involve creating a profile in the database 46 for a new sub behavioral analyzer 36 for behavioral profile indications or
scriber.                                                         access the behavioral profiles in the database 46. Other
   According to an embodiment of the invention, behavioral options for distribution of behavioral profiles or profile infor
profiles are maintained in accordance with online character 15 mation may be or become apparent to those skilled in the art.
ization definitions 48 and behavior rule definitions 38. These      The electronic content delivery controller 56 is responsible
definitions are collectively referenced herein as behavior for managing the delivery of targeted electronic content,
analysis definitions.                                            which could be the most relevant advertisements, to a sub
   Online characterization definitions may indicate, for scriber. The delivery process is “indirect” in the system 20, in
example, the types of traffic or information that is to be used that targeted electronic content stored in the database 52 by
in maintaining subscriber behavioral profiles. Such defini the targeted electronic content source(s) 60 is provided to the
tions might include URL, webpage context categorization, electronic content source 58 for delivery to the subscriber 22
email traffic, search phrase monitoring, online application with other electronic content that is being sent to the sub
signature, etc. These definitions could be applied by either the scriber. Direct delivery mechanisms, in which targeted elec
behavioral information collector 28, 32, 34 to govern infor 25 tronic content is sent directly from the electronic content
mation collection, or by the behavioral analyzer 36, as shown, delivery controller 56 to a subscriber, are also contemplated.
to control the particular collected information that is included    The electronic content delivery controller 56 selects tar
in behavioral analysis.                                          geted electronic content, for delivery to the subscriber
   Behavior rule definitions specify an analysis algorithm, or through the access communication network 24 based on a
the manner in which collected information is actually ana 30 visiting subscriber's identity and current behaviors, as
lyzed to generate and/or update behavior profiles. These rule reflected in the subscriber behavioral profile. A visiting sub
definitions may thus define the categorization of behaviors. If, scriber ID, such as its source IP address and/or other
for example, a behavior of interest is commerce-related, one identifier(s), could be sent by the electronic content source 58
might choose to define behavioral interest based on industry to the electronic content delivery controller 56. The visiting
segments. Such as automotive, financial services, retail, 35 subscriber's behaviors are then obtained by the electronic
sports, travel, entertainment, garment, etc.                     content delivery controller 56 from the behavioral analyzer
   The databases 46, 48 may be populated during initial sys 36 or the database 46, illustratively in the form of subscriber
tem configuration and/or updated from time to time. The behavioral tracking tags. Subscriber behavior is compared
behavioral information collector management system 44 against targeted electronic content stored in the database 52.
might be used to populate or update online characterization 40 The database 52 might contain advertisement creative for
definitions in the database 48, for example. Behavior rule instance, i.e., an advertisement itself. Advertisements might
definitions in the database 38 could be populated or updated include one or more of text, image, and video. For click
through another system or user interface, illustratively a user through based advertisements or other targeted content, an
interface for configuring the behavioral analyzer 36. Other associated click-through URL may also be stored in the data
configuration options, using an overall system manager for 45 base 52.
instance, are also possible.                                        A set of one or more pieces of relevant targeted electronic
  The online characterization definitions and the behavior         content is retrieved from the database 52 and forwarded to the
rule definitions may be “global', and applied to all subscrib electronic content source 58 for delivery to the subscriber 22.
ers of an ISP for example, or specific to particular subscribers In the example of an Internet-based portal, the targeted con
or groups of Subscribers. Thus, more than one collection/ 50 tent is pushed, along with the contents of the portal, to the
analysis scheme may be supported in some embodiments.            subscriber's browser for display.
   The behavioral analyzer 36 may also obtain subscriber            According to a direct delivery mechanism, targeted elec
information from the SME management system 42 so as to tronic content is sent to a subscriber for presentation with
correlate collected behavioral information and associate the     other electronic content, but need not necessarily be delivery
collected information and/or a behavioral profile with a 55 along with the other content. A subscriber might access a web
unique Subscriber. A behavioral analysis algorithm may entail page, for example, that includes content from a particular
analysis of both collected behavioral information and sub portal, and advertisement slots within the web page could
scriber information, Such as demographic information, then be filled by sending advertisements directly to the sub
obtained from the subscriber information database 40             scriber's browser, without interacting with the portal.
through the SME management system 42 in the system 20. 60 In the event of a failure to identify behaviorally-matched
References herein to maintaining behavioral profiles based targeted electronic content in the database 52, the electronic
on collected behavioral information should be interpreted content delivery controller 56 may provide contextually
accordingly.                                                     related content to the electronic content source 58 for delivery
   For the purpose of matching targeted electronic content to the subscriber 22, based on an output from the contextual
such as advertisements to subscribers that exhibit behaviors 65 analyzer 50.
for which such targeted electronic content might be of inter        It is possible that an electronic content source might choose
est, behavioral profiles may be generally commerce-related, to intentionally allocate Some space for behaviorally targeted
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content, and other space for contextual content. Moreover, the      ticular campaign  are updated.   Periodically, invoices associ
electronic content delivery controller 56 could control and ated with a campaign can be issued to the targeted electronic
deliver a diverse set of advertisements and/or other targeted content source(s) 60 for payment. In turn, an appropriate level
electronic content based on different synthesized traits of of payment for revenue sharing can be issued to the electronic
behavior associated with a particular Subscriber. According to 5 content source 58 periodically.
another scheme, the electronic content delivery controller 56          Having described the components of FIG. 2 and their
might be configured to also or instead provide non-behavior respective functions, operation of the system 20 can now be
ally targeted electronic content to the electronic content considered in further detail by way of an illustrative example,
source 58 so as to minimize the consumer “turn-off factor           referred to below as “TADA' (Targeted Ad Delivery Archi
that is sometimes associated with targeted advertising for 10 tecture). TADA can be implemented and operated natively by
instance.                                                           an ISP or by a third party entity.
   In the case of a click-through based delivery model, any            Advertisers choosing to utilize the TADA mechanism
targeted content click on an electronic content provider would participate by first designing and controlling a cam
webpage is reported to the electronic content delivery con paign to distribute targeted electronic content, illustratively
troller 56, directly or by the electronic content source 58, and 15 an advertising campaign. In the system 20, the targeted con
registered by the electronic content delivery controller. In tent campaign manager 54 provides campaign management
addition, a record of the click is sent by the electronic content functions, although in other embodiments these functions
delivery controller 56 to the billing management system 62 might be integrated with an advertiser system or some other
for tracking.                                                       component. Each campaign might have multiple associated
   The electronic content delivery controller 56 may also be advertisements.
responsible for providing a click-fraud analysis function in           The advertisements can be in any of multiple formats. Each
Some embodiments. Suspicious clicks or click patterns may advertisement, as determined by the advertiser, can be asso
be filtered out to ensure proper accountability to the targeted ciated with one or more sets of behaviors. Behaviors may be
electronic content source(s) 60, for instance.                      selectable by an advertiser, having been previously designed
   For impression based targeted content, billing is generally 25 and determined by the TADA operator, for example. Behavior
dependent only upon content delivery. The electronic content definition design should provide maximal flexibility for par
delivery controller 56 might thus provide a delivery indica ticipating advertisers, to allow them the best possible behav
tion to the billing management system 62 when impression ioral targeting and maximum return on investment and sales
based targeted content is delivered to a subscriber.                conversion results. This behavior definition design can be
   Several other components may cooperate with the elec 30 optimized and refined over time, with advertisers possibly
tronic content delivery controller 56 in the targeted electronic having the opportunity to update behavior selections as defi
content selection process. The contextual analyzer 50, for nitions are expanded or otherwise revised. A data structure
example, examines and analyzes the electronic content of the that could be used to map advertisements or other targeted
source 58, illustratively the content of a webpage accessed by electronic content to one or more behaviors is described
the subscriber 22. The analysis results are sent to the elec 35 below with reference to FIG. 5.
tronic content delivery controller 56, via context tags for            Advertisement-to-behavior-definition associations are
instance. The context analysis function is associated with configured during the campaign management process. The
some or all of the online characterization definitions 48 in the    physical creative for each advertisement is then deposited
system 20. These definitions may thus be used not only for into the database 52 for storage, and Subsequent selection for
subscriber behavioral information collection and/or behavior 40 delivery to the subscriber 22.
profiling, but also for context analysis.                              Electronic content Sources such as online publishers that
   The targeted content campaign manager 54 provides an choose to utilize the TADA for feeding advertisements
interface to the targeted electronic content source(s) 60 for through their webpage and/or other content Such as video
controlling an overall distribution campaign. A campaign can streams allocate space within their website property or con
be either click-through based or impression based. The tar 45 tent. In the case of a video stream, video timeslots may be
geted content campaign manager contains the mechanism to allocated for advertisement insertion. The advertisement
allow the targeted electronic content source(s) 60 to associate spots might contain software (i.e., code) which directs a web
certain targeted content with one or more particular behavior browser to obtain advertisements from the electronic content
definitions. It may also allow each targeted electronic content delivery controller 56 of the TADA. When a particular sub
Source 60 to control a bid associated with a campaign. Such 50 scriber visits the electronic content source 58 website, the
an association can beat an individual advertisement level or at    visitor's identifier such as its source IP address is sent to the
a group level for a set of multiple pieces of targeted content electronic content delivery controller 56. The electronic con
Such as advertisements. A bid for a targeted content slot may tent delivery controller 56 then looks up the associated behav
be based on a cost-per-thousand-impression (CPM) model or iors from the behavioral analyzer 36 or the database 46 for
on a cost-per-click (CPC) model that uses a ranking mecha 55 that particular visiting subscriber, and determines the exhib
nism intended to maximize click-through rate, for example. It ited subscriber behavior traits for which advertisers are inter
should be noted that bidding for targeted content spots, or ested in delivering an advertisement. This determination is
more generally for the opportunity to provide targeted elec made by examining the behaviors the advertisers have
tronic content to a Subscriber, is an optional feature that might declared to be of interest as part of their advertising campaign
not be provided in all embodiments.                              60 definitions. Where each advertisement is declared by its
   The billing management system 62 provides monitoring, advertiser to be CPM- or CPC-based and advertisement spots
tracking, and delivery of billing information to the targeted are similarly declared by electronic content Sources, the elec
electronic content source(s) 60 and to the electronic content tronic content delivery controller 56 matches each advertise
source 58. Based on click-through and/or impression deliv ment type to a corresponding type of advertisement spot.
ery, as reported to the billing management system 62 by the 65 In conjunction with selection criteria, Such as the level of a
electronic content source 58 and/or the electronic content          bid in some embodiments, and possibly the history of click
delivery controller 56, billing records associated with a par through in the case of CPC advertisement, a “winning adver
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tiser and/or advertisement is declared by the electronic con         may be ongoing operations, as indicated by the dashed arrow
tent delivery controller 56, and an advertisement is delivered       returning from 76 to 72. Targeted content delivery at 78 may
to the subscriber, directly or through the electronic content        be subsequently initiated when a subscriber visits an elec
source 58. If there is no behavioral match, then a contextual        tronic content source or otherwise accesses electronic con
based advertisement might be selected.                           tent.
   Subsequent to the advertisement delivery and for the case        Other variations of the method 70 may be or become appar
of CPC advertisements, a click-through initiated from the ent to those skilled in the art, based on the foregoing descrip
subscriber's browser is reported to the electronic content tion of the system 20, for example.
delivery controller 56 by the electronic content source 58.         FIG. 4 is a block diagram of a data structure that may be
   The act of delivering an advertisement or a click-through 10 used to store behavioral profiles on a machine-readable
registration is then sent to the billing management system 62 medium, in the database 46 (FIG. 2) for instance.
for billing purposes. Periodically, the billing management          The data structure 80 includes a subscriber identifier field
system 62 may send out invoices to advertisers as well as 82, a subscriber behavioral profile field 84, and a field 86 for
payment to TADA content providers. Billing management storing other subscriber and/or behavior information.
could be a fully automated, semi-automated, or fully manual 15 The subscriber identifier field 82 stores information, illus
process.                                                         tratively an IP address, which identifies a communication
   From the Subscriber perspective, there is no change in network subscriber. The profile field 84 stores a behavioral
typical online usage experience. TADA does not require spe profile that is maintained for the identified subscriber based
cial hardware or software in any subscriber systems. Since the on behavioral information, which is collected from all com
subscriber's online traffic traverses the access network 24, the munication traffic exchanged with the subscriber over an
traffic is being monitored by the behavioral information col access communication link that enables the Subscriber to
lector 28, 32, 34.                                                   access electronic content and is indicative of behavior of the
  The behavioral information collector 28, 32, 34 may look          Subscriber in usage of the access communication link. The
for one or more of contexts of web destinations, online traffic     behavioral profile stored at 84 allows targeted electronic con
patterns, search interests, and other online traffic signatures. 25 tent to be selected for delivery to the subscriber with elec
Collected behavioral information is sent to the behavioral          tronic content accessed by the subscriber.
analyzer 36, illustratively on every online transaction, which         FIG. 5 is a block diagram of a data structure that could be
could be a single transaction like a simple URL for a webpage used in Some embodiments to map targeted electronic content
or a group of transactions like a search-then-click-through to particular behaviors. Such a data structure might be stored
sequence. The behavioral analyzer 36 then correlates the 30 in the data database 52 (FIG. 2), for example.
collected behavioral information and associates it with a sub          The data structure 90 includes a targeted content field 92
scriber. The behavioral information is also processed by a and a behavior field 94, and may also include other content- or
behavioral synthesizing function within the behavioral ana behavior-related information. The targeted content field 92
lyzer 36 to formulate a view of the subscriber's behaviors.         includes information that specifies targeted electronic con
   The synthesizing function may be exercised continuously 35 tent. This information may include the actual content, or
as more and more behavioral information is collected. The           possibly an identifier of the content, illustratively a pointer to
subscriber behavior view is therefore refreshed and updated a memory location at which the content is stored. The behav
all the time. As the subscriber visits aTADA-based electronic       ior field 94 includes information that specifies one or more
content source or streams TADA-based video, for example, behaviors of interest for the targeted content. Behaviors might
the electronic content delivery controller 56 may query the 40 be specified using names and/or other identifiers that are also
behavioral analyzer 36 or otherwise obtain the visiting sub used in behavioral profiles, so as to allow targeted content to
scriber's current behavior view. As described above, this view      be selected for delivery to a subscriber who exhibits a behav
is then used to select advertisers and advertisements that are      ior of interest. Mappings between targeted content and mul
interested in targeting this type of subscriber behavior, thus tiple behaviors may be specified in a single data structure 90.
completing the overall TADA operation.                           45 as shown, or in respective separate data structures for each
   Although described above primarily in the context of the behavior.
system 20, embodiments of the invention may be imple                   Data structures according to other embodiments of the
mented in methods and/or data structures. Such embodiments          invention may include further or fewer data fields than shown
are described below with reference to FIGS. 3 to 5.                 in FIGS. 4 and 5, in a similar or different order. Other types of
   FIG. 3 is a flow diagram of an electronic content delivery 50 data structures may also be provided to store, for example,
control method. The method 70 includes monitoring, at 72, all subscriber information and/or definitions.
communication traffic exchanged with a communication net               Embodiments of the invention may allow advertisers to
work Subscriber over an access communication link. The              deliver highly targeted advertisements to end consumers
access communication link enables the Subscriber to access          through online publishers' webpages or timeslots within
electronic content. At 74, behavioral information indicative 55 Video streams. A subscriber behavior inspection element may
of behavior of the Subscriber in using the access communica be deployed within an access network to continuously moni
tion link is collected from the monitored communication             tor and inspect all subscriber traffic, to thereby collect infor
traffic. A behavioral profile of the subscriber is maintained at mation that provides the basis for synthesizing behavior pro
76 based on the behavioral information. Based on the behav          files of Internet subscribers, for example. As a subscriber
ioral profile, delivery of targeted electronic content to the 60 visits an online publisher or streams an ad-supported video,
subscriber, for presentation with electronic content that is tightly matched advertisements can be delivered in accor
accessed by the subscriber, is controlled at 78.                    dance with the exhibited behaviors, such as the ongoing buy
   The method 70 represents one illustrative embodiment of ing intent and/or personal interests of the subscriber. If a
the invention. Other embodiments may involve fewer, further, behavioral match is not made, a context-based advertisement
or additional operations and/or performing operations in a 65 could be delivered as a default.
different order than shown. For example, traffic monitoring,           Advertisements can be of any format, including one or
behavioral information collection, and profile maintenance more of text, image, and video. An electronic content source
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through which targeted electronic content, in Some embodi              We claim:
ments advertisements, can be a traditional portal in which             1. A system comprising:
space has been allocated for advertisements, a video content           a behavioral information collector operable to monitor
provider that has allocated video advertisement spots before,             communication traffic exchanged with a communica
during, or after a video stream, or some other type of provider 5        tion network Subscriber over an access communication
of electronic content. The electronic content delivery control           link, the access communication link enabling the Sub
model can also be easily adopted for video download. As                  scriberto access electronic content, the behavioral infor
described above, advertisement delivery can be click-through             mation collector being configurable to collect from any
based or simply impression based.                                        of a plurality of types of communication traffic in the
                                                                         monitored communication traffic behavioral informa
   One possible advantage that may be provided by embodi 10
ments of the invention is better click-through and sales con             tion indicative of behavior of the subscriber in using the
version. By gaining knowledge of a Subscriber's buying                   access communication link:
                                                                       a behavioral analyzer operatively coupled to the behavioral
intent and their personal interests, advertisers can more pre             information collector and operable to maintain a behav
cisely apply their advertising dollars towards consumers that 15          ioral profile of the subscriber that reflects ongoing
might be most likely to purchase their products. Context                 behavior of the subscriber, based on behavioral informa
based targeting does not inherently track ongoing consumer               tion collected from only one or more particular types of
behaviors, and many advertisement selections are based on                the plurality of types of communication traffic in the
“inference' of context, such as search phrase or contents.               monitored communication traffic, maintenance of the
   Traditional behavioral ad networks that rely on cookies               behavioral profile being unaffected by behavioral infor
being accepted and deposited in a Subscriber's computer are              mation collected from types of communication traffic
Vulnerable to subscribers disabling of cookies, thus remov               other than the one or more particular types of commu
ing the ad networks ability to track subscriber behavior. The            nication traffic; and
techniques disclosed herein do not depend on any special               an electronic content delivery controller operatively
hardware, firmware, or software arrangements, including 25               coupled to the behavioral analyzer and operable to con
cookies, on the Subscriber's computer.                                   trol, based on the behavioral profile, delivery of targeted
   As well, the ability of a conventional behavioral ad net              electronic content to the subscriber for presentation with
work to synthesize a subscriber's behavior is highly depen               electronic content accessed by the subscriber,
dent on the scale of its “network” of portals. An ad network           wherein at least one of the behavioral information collec
might be able to profile only a small percentage of a Subscrib 30        tor, the behavioral analyzer, and the electronic content
er's online traffic. This restriction can severely inhibit the           delivery controller is implemented using hardware,
development of a precise behavioral understanding of the               wherein the access communication link comprises a net
Subscriber. In contrast, the techniques disclosed herein may             work link in an access network, the access network
utilize network elements that monitor all of a subscriber's              comprising an electronic content source that is operable
traffic flow. As such, a precise behavioral profile can be 35            to deliver the accessed electronic content to the sub
obtained for the purpose of matching targeted electronic con             scriber,
tent to the interests of a subscriber.                                 wherein the electronic content source provides an Internet
   Some traditional behavioral ad networks can also profile a             Protocol Television (IPTV) service, and
subscriber based only on a certain traffic type, i.e., HyperText       wherein the electronic content delivery controller is further
Transfer Protocol (HTTP) web traffic. In contrast, embodi 40              operable to select the targeted electronic content from
ments of the invention may be configured to profile all of the            targeted electronic content provided by multiple tar
online traffic of a subscriber, including, for example, URL,              geted electronic content providers.
HTML, Really Simple Syndication (RSS) feeds, search                    2. The system of claim 1, wherein the behavioral informa
phrase and sequence, click-through patterns, online applica tion collector is configured to collect the behavioral informa
tion signature, etc.                                             45 tion from only the one or more particular types of communi
  In order to increase the base of subscribers to which tar         cation traffic in the monitored communication traffic.
geted electronic content delivery can be controlled, multiple     3. The system of claim 1, wherein the monitored commu
access network operators such as ISPs could cooperate as an nication traffic comprises packet traffic, the system further
aggregated consortium. Such a consortium would represent a comprising:
significantly larger Subscriber base and thus a much wider 50 a Deep Packet Inspection (DPI) module operatively
reach, and could also provide for advertisers a single point of      coupled to the behavioral information collector and
purchase of advertising space over multiple Subscriber bases.        operable to monitor the access communication traffic.
   Traditional telecom equipment providers are constantly         4. The system of claim 1, wherein the behavioral informa
looking for ways to improve service providers’ values in tion collector is in an offline position relative to the access
delivery of Internet services, for example. Embodiments of 55 communication link.
the invention may allow ISPs to actively derive revenues from     5. The system of claim 1, wherein the targeted electronic
the online advertisement market by providing behaviorally content comprises an advertisement.
targeted advertisement delivery services for advertisers.         6. The system of claim 1, wherein at least one of the
   What has been described is merely illustrative of the appli behavioral information collector, the behavioral analyzer, and
cation of principles of embodiments of the invention. Other 60 the electronic content delivery controller is implemented in
arrangements and methods can be implemented by those Software for execution by one or more processing elements.
skilled in the art without departing from the scope of the        7. The system of claim 1, implemented in a set of one or
present invention.                                              more network elements for providing to a subscriber system
   For example, although described primarily in the context access to electronic content through the access network.
of methods and systems, other implementations of the inven 65 8. The system of claim 1, wherein the one or more particu
tion are also contemplated, as instructions stored on a lar types of communication traffic are indicated in an online
machine-readable medium.                                            characterization definition.
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9. A system comprising:                                              the targeted electronic content to the electronic content
a behavioral information collector operable to monitor               source for delivery to the subscriber with the accessed
   communication traffic exchanged with a communica                  electronic content,
  tion network Subscriber over an access communication             wherein at least one of the behavioral information collec
  link, the access communication link enabling the Sub 5             tor, the behavioral analyzer, the electronic content deliv
  scriber to access electronic content, and to collect from          ery controller, and the electronic content source is
  the monitored communication traffic behavioral infor               implemented using hardware,
  mation indicative of behavior of the subscriber in using         wherein the access communication link comprises a net
  the access communication link:                                     work link in an access network, the access network
a behavioral analyzer operatively coupled to the collector 10        comprising the electronic content Source that is operable
   and operable to maintain a behavioral profile of the              to deliver the accessed electronic content to the sub
  Subscriber based on the behavioral information;                    scriber,
an electronic content delivery controller operatively              wherein the electronic content source provides an Internet
  coupled to the behavioral analyzer and operable to con 15          Protocol Television (IPTV) service, and
  trol, based on the behavioral profile, delivery of targeted      wherein the electronic content delivery controller is further
  electronic content to the subscriber for presentation with         operable to select the targeted electronic content from
  electronic content accessed by the Subscriber, and                 targeted electronic content provided by multiple tar
a memory operatively coupled to the behavioral analyzer              geted electronic content providers.
  for storing behavioral analysis definitions,                     11. A method comprising:
wherein the behavioral analyzer maintains the subscriber           monitoring, by a behavioral information collector, commu
  behavioral profile by creating or updating the subscriber          nication traffic exchanged with a communication net
  behavioral profile in accordance with the stored behav             work Subscriber over an access communication link, the
  ioral analysis definitions, the behavioral analysis defini         access communication link enabling the Subscriber to
  tions indicating types of communication traffic or 25              access electronic content;
  behavioral information to be used in maintaining the             collecting, by the behavioral information collector, from
  behavioral profile, and the manner in which the behav              the monitored communication traffic behavioral infor
  ioral information is analyzed to maintain the behavioral           mation indicative of behavior of the subscriber in using
  profile,                                                           the access communication link, the behavioral informa
wherein the access communication link comprises a net 30             tion collector being configurable to collect the behav
  work link in an access network, the access network                 ioral information from any of a plurality of types of
  comprising an electronic content source that is operable           communication traffic in the monitored communication
  to deliver the accessed electronic content to the sub              traffic;
  scriber,                                                         maintaining, by a behavioral analyzer, a behavioral profile
wherein the electronic content source provides an Internet 35        of the subscriber that reflects ongoing behavior of the
  Protocol Television (IPTV) service, and                            Subscriber, based on behavioral information collected
wherein the electronic content delivery controller is further        from only one or more particular types of the plurality of
  operable to select the targeted electronic content from            types of communication traffic in the monitored com
  targeted electronic content provided by multiple tar               munication traffic, the maintaining of the behavioral
  geted electronic content providers.                         40     profile being unaffected by behavioral information col
10. A system comprising:                                             lected from types of communication traffic other than
a behavioral information collector operable to monitor               the one or more particular types of communication traf
  communication traffic exchanged with a communica                   fic; and
  tion network Subscriber over an access communication             controlling, by an electronic content delivery controller,
  link, the access communication link enabling the Sub 45             based on the behavioral profile, delivery of targeted elec
  scriber to access electronic content, and to collect from           tronic content to the subscriber for presentation with
  the monitored communication traffic behavioral infor                electronic content accessed by the subscriber,
  mation indicative of behavior of the subscriber in using         wherein at least one of the behavioral information collec
  the access communication link:                                     tor, the behavioral analyzer, and the electronic content
a behavioral analyzer operatively coupled to the collector 50        delivery controller is implemented using hardware,
   and operable to maintain a behavioral profile of the            wherein the access communication link comprises a net
  Subscriber based on the behavioral information;                    work link in an access network, the access network
an electronic content source operable to deliver to the sub          comprising an electronic content source that is operable
  scriber electronic content that is accessed by the sub             to deliver the accessed electronic content to the sub
  scriber;                                                    55 scriber and provides an Internet Protocol Television
a source of targeted electronic content, the targeted elec       (IPTV) service, and
  tronic content comprising electronic content for delivery  wherein the method further comprises:
  to subscribers exhibiting one or more behaviors of inter    selecting, by the electronic content delivery controller, the
  est,                                                           targeted electronic content from targeted electronic con
an electronic content delivery controller operatively 60         tent provided by multiple targeted electronic content
  coupled to the behavioral analyzer, to the electronic          providers.
  content source, and to the Source of targeted electronic    12. The method of claim 11 wherein collecting comprises
  content and operable to control, based on the behavioral collecting the behavioral information from only the one or
  profile and the one or more behaviors of interest, deliv more particular types of communication traffic in the moni
  ery of targeted electronic content from the source of 65 tored communication traffic.
  targeted electronic content to the subscriber for presen    13. The method of claim 11, wherein the targeted elec
  tation with the accessed electronic content by providing tronic content comprises an advertisement.
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   14. A non-transitory machine-readable medium storing            by behavioral information collected from types of com
instructions which when executed perform a method com               munication traffic other than the one or more particular
prising:                                                           types of communication traffic; and
   monitoring communication traffic exchanged with a com         controlling based on the behavioral profile, delivery of
    munication network Subscriber over an access commu             targeted electronic content to the subscriber for presen
    nication link, the access communication link enabling          tation with electronic content accessed by the sub
    the Subscriber to access electronic content;                   scriber,
  collecting from the monitored communication traffic            wherein the access communication link comprises a net
    behavioral information indicative of behavior of the sub       work link in an access network, the access network
    scriber in using the access communication link, the col 10     comprising an electronic content source that is operable
    lecting comprising collecting the behavioral informa           to deliver the accessed electronic content to the sub
    tion from any of a plurality of types of communication         scriber and provides an Internet Protocol Television
    traffic in the monitored communication traffic;                (IPTV) service, and
  maintaining a behavioral profile of the subscriber that        wherein the method further comprises:
    reflects ongoing behavior of the subscriber, based on 15       Selecting the targeted electronic content from targeted
    behavioral information collected from only one or more           electronic content provided by multiple targeted elec
    particular types of the plurality of types of communica          tronic content providers.
    tion traffic in the monitored communication traffic, the
    maintaining of the behavioral profile being unaffected                           k   k   k   k   k
